                                Case 17-10274           Doc 27       Filed 08/04/17        Page 1 of 2
C-13-15(a)Motion
(Rev. 10/06)                            UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF NORTH CAROLINA

In Re:                                                         )                         Motion and Notice
                                                               )                           Chapter 13
GRAVES, BARRY ONEIL                                xxx-xx-0687 )
PO BOX 1314                                                    )                       No:     17-10274       C-13G
MEBANE, NC 27302                                               )
                                                               )
                                            Debtor             )

The undersigned Standing Trustee respectfully moves the Court for an Order as follows:
This Plan was confirmed July 23, 2017. Shellpoint Mortgage Servicing is scheduled to be paid as a secured continuing
long term debt claimant through the disbursements by the Trustee on a deed of trust against real property. Pursuant
to the terms of the Order confirming the Plan the arrearage on the account through June 2017 is to be paid as a separate
claim with regular monthly payments to be disbursed effective with the payment for July 2017. Shellpoint Mortgage
Servicing has filed Claim 4 referencing a mortgage account with last four digits 99031 with an arrearage claim in the
amount of $9,728.82 indicating the arrearage amount to be through March 2017. The regular monthly payment on
the account through June 2017 was $324.91. The arrearage claim needs to be increased by $974.73 to include the
April 2017, May 2017 and June 2017 monthly mortgage payments in the arrearage claim. The Trustee recommends
that an Order be entered increasing the arrearage claim of Shellpoint Mortgage Servicing by $974.73 to include the
April 2017, May 2017 and June 2017 monthly mortgage payments in the arrearage claim without prejudice to an
objection being filed to the mortgage claim of Shellpoint Mortgage Servicing.



Date: August 1, 2017                                                                               s/Anita Jo Kinlaw Troxler
AJKT:lac                                                                                           Standing Trustee
-------------------------------------------------------------------------------------------------------------------------------------------
                                                                NOTICE
TAKE NOTICE THAT any interested party who has an objection to the Motion MUST FILE A WRITTEN
OBJECTION on or before September 5, 2017 with the parties named on the attached Parties To Be Served list and
with the U.S. Bankruptcy Court at the following address:

                                                       101 S. Edgeworth Street
                                                       Greensboro, NC 27401

If no objections are filed within the time period, the Court will consider this motion without a hearing. If objections
are timely filed, a hearing on the motion will be held on September 26, 2017 at 2:00 p.m., in the following location:

                                                            Courtroom #1
                                                            Second Floor
                                                       101 S. Edgeworth Street
                                                       Greensboro, NC 27401

Date: August 4, 2017                                                                              OFFICE OF THE CLERK
                                                                                                  U.S. Bankruptcy Court
                     Case 17-10274   Doc 27   Filed 08/04/17   Page 2 of 2




                                 PARTIES TO BE SERVED
                                      PAGE 1 OF 1
                                    17-10274 C-13G

ANITA JO KINLAW TROXLER
STANDING TRUSTEE
PO BOX 1720
GREENSBORO NC 27402-1720

BARRY ONEIL GRAVES
PO BOX 1314
MEBANE, NC 27302

JOHN T ORCUTT ESQ
6616-203 SIX FORKS ROAD
RALEIGH, NC 27615

SHELLPOINT MORTGAGE SERVICING
ATTN: MANAGING AGENT
POST OFFICE BOX 10826
GREENVILLE, SC 29603−0826
